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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                               Criminal No. 22-178 (SRN/DTS)

______________________________________

United States of America,

       Plaintiff,
                                                      DEFENDANT DEVEON MARQUISE
v.                                                    BRANCH’S MOTION TO SUPPRESS
                                                      POST-ARREST STATEMENT
Deveon Marquise Branch,

      Defendant.
______________________________________

       The above-named Defendant, Deveon Marquise Branch, by and through his attorney,

Glenn P. Bruder, hereby moves the Court to suppress Defendant’s post-arrest statement on the

grounds that the statement was not voluntary and was obtained in violation of Defendant’s rights

under the Fifth Amendment to the United State’s Constitution.

       The basis for this motion is:

       1.       Prior to obtaining the recorded statement, police officers informed Defendant, in

an unrecorded interview:

       a.       They believed Defendant was the owner of the firearm found at the premises.

       b.       Officers felt Defendant had a moral obligation to exculpate his fiancé.

       c.       If Defendant failed to do so, police could arrest his fiancé “on probable cause”
                and hold her in jail for 36 hours.

       d.       In that event, “child protection will come out and take your kids” and become
                deeply enmeshed in the parties’ lives.

       e.       Defendant could spare his family by simply “manning up and taking
                responsibility” for the gun.




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       2.       These statements, in combination, overwhelmed the Defendant’s free will and

convinced Defendant that he could not exercise his constitutional right to remain silent but,

instead, needed to accept guilt to spare his family and fiancé.

       WHEREFORE, Defendant requests his post-arrest statement be suppressed.

Dated: September 28, 2022

Respectfully submitted,

MITCHELL, BRUDER & JOHNSON
/s/ Glenn P. Bruder
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